         Case 1:15-cv-07433-LAP Document 990 Filed 09/25/19 Page 1 of 6



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


VIRGINIA GIUFFRE,

                        Plaintiff
                                                                   15 Civ. 7433 (LAP)
– against –
                                                                  NON-PARTY BRIEF
GHISLAINE MAXWELL,

                        Defendant.



       On September 5, 2019, the Court issued an Order (“Order”) permitting non-parties to

submit briefing regarding the parties’ proposed categorization of the filings in this matter. See

Docket Entry (“DE”) 982. On behalf of our non-party client, we respectfully submit this brief.

       The Court’s Order effectuates the approach suggested by this Court in the initial status

conference following remand (“Conference”). During the Conference, the Court explained that the

first step of the review process – upon which everyone seemingly agreed – was for the parties to

collectively identify categories of filings which constitute non-judicial documents that would

remain under seal. See Conference Tr. (“Tr.”) at 15-22. The Court highlighted the inefficiency of

“notifying a thousand people [non-parties] on something that may ultimately easily be determined

to be non-judicial,” and therefore would remain under seal. Id. at 18. Accordingly, the Court

suggested that the parties first identify categories of non-judicial documents “and then to the extent

that we think perhaps some of it should be unsealed, then worry about giving notice” to non-parties

to permit their involvement in the rest of the judicial review and balancing process. Id. at 16.

       Plaintiff’s two recent filings, in particular, fail to advance this Court’s common-sense

objective. For instance, Plaintiff elected to submit a 60-page chart purporting to categorize the
            Case 1:15-cv-07433-LAP Document 990 Filed 09/25/19 Page 2 of 6



documents into ten categories – but then argued that every single document in every single

category constitutes a judicial document. See DE 986 at 1. Plaintiff’s argument thus

accomplishes the unique feat of both being contrary to law1 and totally unhelpful to this Court.

        In light of the foregoing and the Court’s desire to expeditiously consider these matters,

we respectfully propose that the Court establish at least the following three specific categories of

filings that are definitively non-judicial, and direct the parties to identify filings they believe fall

into each: (1) filings related to motions or judicial requests that were unadjudicated by Judge

Sweet; (2) filings that Judge Sweet – or this Court sua sponte – determines, or should determine,

contain frivolous arguments, inadmissible evidence, are lacking credibility, or are redundant,

immaterial, impertinent, or scandalous; and (3) documents that were not actually filed with the

Court, or filed without notice to the adverse party. Finally, because the identification of non-

judicial documents to remain under seal is only the first step of the review process required by

Circuit law, we respectfully request that the Court delineate the additional steps to be followed,

and the role of non-parties in each step of that process.

1. Filings Related to Unadjudicated Motions or Requests are Non-Judicial

        Documents that were filed in connection with motions or other requests which were

never adjudicated or acted upon by Judge Sweet are, categorically, non-judicial documents. This

is because the sine qua non of a judicial document is that it relate to affirmative judicial action.

Where there is no affirmative judicial action, there can be no judicial document.2



        1
         Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir. 2019) (observing that “the mere filing of a
paper or document with the court is insufficient to render that paper a judicial document”).
        2
         The logic of this bright-line rule is cast in stark relief where, as here, the original Judge
is no longer available to identify filings that influenced decisions. In circumstances in which the
                                                    2
           Case 1:15-cv-07433-LAP Document 990 Filed 09/25/19 Page 3 of 6



       The Court of Appeals here emphasized that a court performs “the judicial function . . .

when it rules on motions currently before it [and] when properly exercising its inherent

supervisory powers.” Brown, 929 F.3d at 49 (internal quotation marks and emendations omitted;

emphasis supplied). The relevant issue is not litigant requests – it is judicial action. See, e.g.,

United States v. Gatto, No. 17-CR-686 (LAK), 2019 WL 4194569, at *3 (S.D.N.Y. Sept. 3, 2019)

(a judicial document must relate to the actual “exercise[] of judicial power”); see Standard Inv.

Chartered, Inc. v. Nat’l Ass’n of Sec. Dealers, Inc., 621 F. Supp. 2d 55, 63 (S.D.N.Y. 2007)

(holding that, where documents “did not in any way figure into the Court's performance of its

Article III functions, the documents do not qualify as judicial and carry no presumption of public

access”); see also S.E.C. v. TheStreet.Com, 273 F.3d 222, 233 (2d Cir. 2001) (holding that

documents were not judicial if they “did not directly affect an adjudication [or] significantly

determine litigants’ substantive rights” (internal quotation marks omitted)).3

       The public’s interest in access to court filings is “derived from the role those documents

played in determining litigants’ substantive rights – conduct at the heart of Article III – and from

the need for public monitoring of that conduct.” United States v. Amodeo, 71 F.3d 1044, 1049

(2d Cir. 1995) (emphasis supplied); see also Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,




original Judge did not act, it simply makes no sense to ask a different Judge to assess the double-
hypothetical question of: if the original Judge had acted, what documents might have affected
such hypothetical action. Fortunately, that is not what the law requires.
       3
          To be sure, when a court is exercising its judicial authority through action, then the
relevant question becomes whether any particular filing would reasonably tend to influence that
action regardless of which way the court rules, or whether the document in fact influenced that
action. See Brown, 929 F.3d at 49. The question then is not whether the court in fact relied on
the document, but rather whether the document would tend to influence such a decision. But,
critically, to get to that point in the analysis, a court first must act.

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         Case 1:15-cv-07433-LAP Document 990 Filed 09/25/19 Page 4 of 6



123 (2d Cir. 2006) (explaining that “the rationale behind access is to allow the public an

opportunity to assess the correctness of the judge’s decision” (internal quotation marks omitted)).

       This rule makes perfect sense. The purpose of the presumption of public access is to

permit the public to understand judicial action – to understand the bases for the exercise of

judicial authority; to understand the determination of litigants’ substantive rights. Applying a

presumption of public access to a document that has the tendency to influence the exercise of

judicial authority is productive insofar as it may give the public insight into potential bases for a

court’s action – which helps the public understand and monitor its courts and its judges.

       Here, where a given motion was not adjudicated, or a request for judicial action was not

acted upon, documents submitted in connection therewith are categorically non-judicial.

2. Filings With Frivolous, Scandalous or Otherwise Improper Content Are Non-Judicial

       Insofar as Judge Sweet determined that a filing, or a portion of a filing, was comprised of

inadmissible evidence or contained frivolous arguments – see e.g., Lugosch, 435 F.3d at 122

(any presumption of public access assumes that the parties “supported their papers with

admissible evidence and non-frivolous arguments”); Gatto, 2019 WL 4194569, at *3 (same) – or

was “redundant, immaterial, impertinent, or scandalous” or “lack[ing] credibility,” Brown, 929

F.3d at 51-52 (internal quotation marks omitted), that filing or portion thereof is non-judicial. In

addition, this Court has the affirmative obligation to identify any such filings and sua sponte

strike it from the record or deem it non-judicial.

3. Non-Filed or Improperly Filed Documents are Non-Judicial

       Another category of non-judicial documents includes filings that were not properly “filed

with the court.” Brown, 929 F.3d at 49-50 (repeatedly describing the documents subject to

remand as those filed with the court). Plainly, then, hard copy documents that were submitted ex
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           Case 1:15-cv-07433-LAP Document 990 Filed 09/25/19 Page 5 of 6



parte to Judge Sweet and without notice to the defendant – such as those described by Plaintiff’s

supplemental filing, see DE 988 – are not judicial documents.

4. The Court Should Set Forth the Rest of Its Review Process and the Role of Non-Parties

       Critically, the identification of non-judicial filings to remain under seal is only the first

step of this process. Specifically, after the Court (1) identifies which filings are “judicial

documents,” it must then (2) assess the weight of any presumption of public access that applies to

those judicial documents,4 before (3) identifying countervailing considerations counseling

against unsealing, such as non-party privacy interests, and then, finally, (4) the Court must

balance any interest of public access against countervailing interests.5 See Gatto, 2019 WL

4194569 at *4-5; Lugosch, 435 F.3d at 119; Amodeo, 71 F.3d 1044 at 1050. And, as the Court of

Appeals observed here, due to the extraordinary privacy interests at stake here, “outside parties

whose privacy interests might be implicated by the unsealing” should be afforded an opportunity

to be involved in this multi-step process. Brown, 929 F.3d at 51. We respectfully refer the

Court to our proposed protocol as one means of so doing. See DE 980.


                               *       *       *       *       *



       4
         The documents subject to remand here have been described as “ancillary to the court’s
core role in adjudicating a case,” and thus subject to a lower presumption. Brown, 929 F.3d at
50.
       5
          As Judge Kaplan recently wrote: “The privacy interests of innocent third parties should
weigh heavily in a court’s balancing equation. Such interests are a venerable common law
exception to the presumption of access. Furthermore, courts have the power to insure that their
records are not used to gratify private spite or promote public scandal, and have refused to permit
their files to serve as reservoirs of libelous statements for press consumption.” Gatto, 2019 WL
4194569, at *6 (internal quotation marks and emendations omitted).



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 Case 1:15-cv-07433-LAP Document 990 Filed 09/25/19 Page 6 of 6




Dated: September 25, 2019
New York, New York
                                   Respectfully Submitted,
                                   KRIEGER KIM & LEWIN LLP


                              By: _________________________
                                  Nicholas J. Lewin
                                  Paul M. Krieger

                                   Attorneys for Non-Party John Doe




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